                                                                         THIS ORDER IS APPROVED.


                                                                         Dated: January 26, 2018



 1   Kenneth L. Neeley, 025899                                           _________________________________
     Christopher J. Dutkiewicz, 024962                                   Scott H. Gan, Bankruptcy Judge
 2   Dane C. Paulsen, 029225
     Nicholas T. VanVleet, 026933
 3   NEELEY LAW FIRM, PLC
     2250 E. Germann Rd., Ste. 11
 4   Chandler, Arizona 85286
     Tel: 480.802.46471 Fax: 480.907.1648
 5
     ECF@neeleylaw.com
 6   Attorneys for Debtors
                            UNITED STATES BANKRUPTCY COURT
 7

                                        DISTRICT OF ARIZONA
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     In re:                                             Chapter 13
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                                                        Case No.: 2: l 7-bk-06478-SHG
10   Michael L. Merryman                                STIPULATED ORDER CONFIRMING
     Shoenita M. Merryman,                              THE ORIGINAL CHAPTER 13 PLAN

                        Debtors.

         This Original Chapter 13 Plan having been properly noticed out to creditors and all
     objections having been resolved,
         IT IS ORDERED Confirming the Original Chapter 13 Plan of Debtors as follows:
     (A)INCOME SUBMITTED TO THE PLAN. Debtors shall submit the following amounts of
         future income to the Trustee for distribution under the Plan.
         (1) Future Earnings or Income. Debtors shall make the following monthly Plan payments:
              Months                       Payments
19
              1- 60                        $2,300.00
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         The payments are due on or before the 8' 11 day of each month starting July 8, 2017. Debtors
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     are advised that when payments are remitted late, additional interest may accrue, which may
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     result in a funding shortfall at the end of the Plan term. Any funding shortfall must be cured
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     before the Plan is deemed completed.
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         The Debtors shall provide, directly to the Trustee, complete copies of their federal and state
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     income tax returns for every year during the duration of your Chapter 13 Plan within 30 days of
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     filing them. The purpose is to assist the Trustee in determining any change in Debtors' annual
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     disposable income.
28
                                                                                           In re: Merryman
                                                                                        Case No.: 17-06478
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            1       (2) Other Property: None. In the event that other property is submitted, it shall be treated as

            2          supplemental payments.

            3    (B) DURATION. This Plan shall continue for 60 months from the first regular monthly

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                    payment described in Paragraph (A)(]) above. If at any time before the end of the Plan period
                    all claims are paid, then the Plan shall terminate. In no event will the term of the Plan be
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                    reduced to less than 60 months, exclusive of any property recovered by the Trustee, unless
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                    all allowed claims are paid in full.
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                 (C)CLASSIFICATION AND TREATMENT OF CLAIMS. Claims shall be classified as
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                    listed below. The Plan and this Order shall not constitute an informal proof of claim for any
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                    creditor. This Order does not allow claims. Claims allowance is determined by § 502 and
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                    the Federal Rules of Bankruptcy Procedure. The Trustee shall receive the percentage fee on
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[-~                 the Plan payments pursuant to 28 U.S.C. § 586(e), then the Trustee will pay secured creditors



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                    or allowed claims in the following order:
i ;.,;..,              ( 1) Administrative Expenses.
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                           (a) Attorney Fees: Neeley Law Firm, PLC shall be allowed total fees in the amount
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                               of $4,500.00. Counsel received $690.00 prior to filing this case and counsel will
            16                 be paid $3,810.00 through the Chapter 13 Plan by the Chapter 13 Trustee. All
            17                 services listed in paragraph (F)( 1), except for adversary proceedings, are included
            18                 in the flat fee amount.
            19             (b) Other Administrative Expenses. None.
            20          (2) Claims Secured by Real Property. None.
            21          (3) Claims Secured by Personal Property.
            22              (a) U.S. Bank National Association, secured by a lien in a 2012 Jeep Grand Cherokee,

            23              shall be paid a secured claim of $11,879.71 with 5.50% interest. The creditor will

            24              receive adequate protection payments of$150.00 per month.

            25          (4) Unsecured Priority Claims:

            26
                            (a) Internal Revenue Service will be paid an unsecured priority claim of$9,861.18
                                with no interest for tax year 2016.
            27
                        (5) Executory Contracts: None.
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                                                                                                        In re: Merryman
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                   l         (6) Surrendered Property: Upon confirmation of this plan or except as otherwise ordered

                   2              by the Court, bankruptcy stays are lifted as to collateral to be surrendered. Such

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                                  creditor shall receive no distribution until the creditor timely files a claim or an

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                                  amended proof of claim that reflects any deficiency balance on the claim. Assuming
                                  the creditor has an allowed proof of claim, should the creditor fail to file an amended
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                                  claim consistent with this provision, the Trustee need not make any distributions to
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                                  that creditor. Debtors surrender the following property: None.
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                             (7) Other Provisions. None
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                             (8) Unsecured Non-Priority Claims. Claims allowance is determined by § 502 and the
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                                  Federal Rules of Bankruptcy Procedure. Allowed unsecured claims shall be paid pro
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                                  rata the balance of the payments under the Plan and any unsecured debt balance
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      ....... 1                   remaining unpaid at the end of the Plan may be discharged as provided in 11 U.S.C .
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    ~112                          § 1328.
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                       (D)EFFECTIVE DATE AND VESTING. The effective date of the Plan shall be the date of
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                          this Order. Property of the estate vests in Debtors upon confirmation, subject to the rights of
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    .........! 15
                          the Trustee to assert a claim to any additional property of the estate pursuant to 11 U.S. C. §
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                          1306.
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                                                           ORDER SIGNED ABOVE
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                                                                                                              In re: Merryman
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                Approved as to Form and Content By:
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          6                aney~
                Chapter 3 Trustee
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         10                                A~
         11     Kenneth L. Neeley
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                Attorney for the Debtors
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                                                                                      In re: Merryman
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                   The Debtors certify: All required State and Federal income tax returns have been filed. No
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                   domestic support obligation is owed, or, if owed, such payments are current since the filing of
               2   the Petition.
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               9   shoenita M. Merryma~
                   Debtor
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